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IN THE UNITED sTATES DISTRICT CoURT f r_ cl "3"'-
FoR THE WESTERN DISTRICT oF TENNESSEE il sss 37 low ,i_, ing

WESTERN DIVISION

 

MARK CHRISTOPHER OBERT and
LESLEY OBERT,

Plaintiffs,

v. Civil Docket No.:03-2135-DV
THE PYRAMID, CITY OF MEMPHIS,
SHELBY COUNTY GOVERNMENT,

PUBLIC BUILDING AUTHORITY OF
MEMPHIS AND SHELBY COUNTY,
MEMPHIS POLICE DEPARTMENT,
LEISURE MANAGEMENT INTERNATIONAL
D/B/A LMI/HHI, LTD., and SPECTACOR
MANAGEMENT GR()UP D/B/A SMG,

\_/WW\-p¢'\_¢

Defendants.

 

` ORDER GRANTING PLAINTIFFS’
MOTION TO EXTEND RESPONSE DEADLINE ON
DEFENDANT SMG’S RULE 12(b) (6) MOTION TO DISMISS,
OR IN THE ALTERNATIVE, RULE 12(€) MOTION TO REQUIRE
MORE DEFINITE STATEMENT

 

Upon consideration of Plaintiff’s Motion To Extend Response Deadline On Defendant
SMG’s Rule 12(b)(6) Motion to Dismiss, or in the Alternative, Rule lZ(e) Motion to Require
More Definite Statement, and the entire record herein, it is hereby ORDERED that Plaintiff’s

Motion is granted According].y, it is ordered as follows:

Plaintiff is granted an extension of time Within which to respond to Defendant SMG’s
Rule 12(b)(6) Motion to Disrniss, or in the Alternative, Ru]e lZ(e) Motion to Require
More Definite Statement until April 22, 2005.

Th!s document entered on the docket sheet g com )|ance
with Rule 58 and/or 79(3) FHGP on '

 

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UN/fED sTATEs r')'Is'rRiCT CoURr JUDGE

CERTIFICATE OF SERVICE

The undersigned hereby certifies that a copy of the foregoing has been mailed to all
counsel or individually this the l 1- day of April, 2005:

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This notice confirms a copy of the document docketed as number 145 in
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Honorable Bernice Donald
US DISTRICT COURT

